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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


      ERIC COOMER, PH.D.,                       Case No. 1:22-cv-01129-NYW-SKC


             Plaintiff,                         ENTRY OF APPEARANCE

      v.


      MICHAEL J. LINDELL,
      FRANKSPEECH LLC, AND
      MY PILLOW, INC.,

             Defendants.


      To the Clerk of Court and all parties of record:

             I hereby certify that I am a member in good standing of the bar of this

      Court, and I appear as counsel of record for Defendant My Pillow, Inc.



      Dated: December 1, 2023                   /s/ Douglas G. Wardlow
                                                Douglas G. Wardlow
                                                1550 Audubon Rd.
                                                Chaska, MN 55318
                                                Telephone: (952) 826-8658
                                                Email: doug@mypillow.com

                                                Counsel for Defendant My Pillow, Inc.
